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                           Exhibit 2
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 ENERGY INTELLIGENCE GROUP, INC.
 and ENERGY INTELLIGENCE GROUP
 (UK) LIMITED,

        Plaintiffs and
        Counterclaim Defendants,                   Civil Action No. 1:20-cv-03983

                v.                                 Hon. Joan B. Gottschall
                                                   Magistrate Judge Heather K. McShain
 CONSTELLATION ENERGY
 GENERATION, LLC,

        Defendant and
        Counterclaim Plaintiff.



         PLAINTIFFS’ FIRST AMENDED RESPONSES AND OBJECTIONS TO
          DEFENDANT CONSTELLATION ENERGY GENERATION, LLC’S
         FIRST INTERROGATORIES TO ENERGY INTELLIGENCE GROUP,
            INC. AND ENERGY INTELLIGENCE GROUP (UK) LIMITED

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiffs and

Counterclaim Defendants Energy Intelligence Group, Inc. and Energy Intelligence Group (UK)

Limited (collectively, “EIG” or “Plaintiffs”), by and through their undersigned attorneys, hereby

serve their First Amended Responses and Objections to Defendant and Counterclaim Plaintiff

Constellation Energy Generation, LLC’s (“Constellation” or “Defendant”) First Set of

Interrogatories (“Interrogatories”) as follows.

                                I.      GENERAL RESPONSES

       The following general responses are incorporated, unless otherwise noted, into each and

every one of Plaintiffs’ responses to the Interrogatories:
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        A.      The specific responses set forth below are for the purposes of discovery only, and

Plaintiffs neither waive nor intend to waive, but expressly reserve, any and all objections they

may have to the relevance, competence, materiality, admission, admissibility or use at trial of

any information, documents or writings produced, identified or referred to herein, or to the

introduction of any evidence at trial relating to the subjects covered by such responses.

        B.      Plaintiffs expressly reserve their right to rely, at any time including trial, upon

subsequently discovered information or information omitted from the specific responses set forth

below as a result of mistake, oversight or inadvertence.

        C.      The specific responses set forth below are based upon Plaintiffs’ interpretation of

the language used in the Interrogatories, and Plaintiffs reserve their rights to amend or

supplement their responses in the event Defendant asserts an interpretation that differs from

Plaintiffs’ interpretation.

        D.      Plaintiffs provide information responsive to the Interrogatories that Plaintiffs have

in their possession, custody or control as of the date of these Responses. Plaintiffs will continue

to provide responsive information as such is discovered, if any. Plaintiffs’ failure to object to a

particular Interrogatory or willingness to provide responsive information pursuant to an

Interrogatory is not, and shall not be construed as, an admission of the relevance, or admissibility

into evidence, of any such information, nor does it constitute a representation that any such

information in fact exists.

        E.      Because Plaintiffs may not have discovered all the information that is possibly

within the scope of the Interrogatories, Plaintiffs expressly reserve their rights to amend or to

supplement these responses and objections with any additional information that emerges through

discovery or otherwise.



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       F.      Upon request by Defendant, Plaintiffs are willing to meet and confer regarding

their responses to any of the Interrogatories herein.

       G.      All references to Exelon Generation Company are understood to refer to

Constellation Energy Generation, LLC to reflect Defendant’s new name.

               RESPONSES AND OBJECTIONS TO INTERROGATORIES


        Interrogatory No. 1. For each alleged act of copyright infringement by Exelon
 Gen. Co., identify the copyright registration number and Asserted NIW Work that was
 allegedly infringed and describe the act that allegedly constituted infringement, including
 the date of such act.

       Response: Plaintiffs object to this Interrogatory on the ground that it is premature

because the information is in the possession of defendant. As such, Plaintiffs reserve their right

to amend and supplement their Response to this Interrogatory as further information concerning

the extent of Defendant’s infringement is revealed in discovery. However, upon information

and belief, Plaintiffs believe that Exelon infringed the registrations listed in paragraph 20 of the

Complaint.

       Without waiver of the foregoing objections, Plaintiffs refer Defendant to Appendix A,

attached hereto. Appendix A is based on Defendant’s documents that it has produced to date.

Appendix A lists the NIW works that Defendant has infringed during the time period of

November 1, 2011 through July 8, 2020, based solely on documents Defendant has produced to

date, and identifies by Bates number the documents that show infringement of NIW.


       Interrogatory No. 2. For each alleged act of copyright infringement by Exelon
 Gen. Co., describe the type(s) (e.g., statutory damages, actual damages) and amount of
 damages sought for each act of alleged infringement and the factual and legal bases for
 your damages calculation.

       Response:       Plaintiffs object to this Interrogatory on the basis that it is premature

pending the completion of discovery as to the full extent of Defendant’s copying and

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distribution at issue in this litigation. As such, Plaintiffs reserve their right to amend and

supplement their Response to this Interrogatory as further information concerning the extent of

Defendant’s infringement is revealed in discovery.

       Without waiving the foregoing objections, Plaintiffs respond that they may elect at any

time before final judgment to recover (1) Plaintiffs’ actual damages and any additional profits of

the Defendant’s attributable to the infringement, or (2) statutory damages.

       As a measure of actual damages, Plaintiffs’ lost licensing fees and/or subscription fees

can be calculated in the following ways: (1) Nuclear Intelligence Weekly’s current pay-per-

article rate of $24.00 for a copy of a single article, multiplied by the total number of articles that

were infringed by Defendant, multiplied by the total number of copies of each article made by

Defendant; (2) Nuclear Intelligence Weekly’s current pay-per-publication rate of $395.00 for a

single copy of a single issue, multiplied by the total number of issues of Nuclear Intelligence

Weekly that were infringed by Defendant, multiplied by the total number of copies of each issue

made by Defendant; (3) Plaintiffs’ current annual single publication global enterprise license

rate of $200,000, multiplied by the number of years that Defendant infringed Nuclear

Intelligence Weekly; and/or (4) for each annual subscription period in which Defendant

infringed Nuclear Intelligence Weekly, the cost of Nuclear Intelligence Weekly’s annual

subscription rate at that time for a single copy of Nuclear Intelligence Weekly for that annual

period multiplied by the number of subscriptions needed to account for Defendant’s

infringement during that annual subscription period. Notwithstanding the foregoing, at the time,

Plaintiffs are not certain as to the most accurate method to calculated the actual and/or statutory

damages in this matter until further discovery regarding Defendant’s copying is made available.

       Statutory damages under the Copyright Act are based on the number of infringed works



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multiplied by the applicable statutory award for each infringed work. The range of statutory

damages can increase from the minimum of $750 up to $150,000 for each work infringed if

Defendant’s infringement of Nuclear Intelligence Weekly is found to be willful under Section

504(c) of the Copyright Act. Plaintiffs note that the final determination as to the applicable

statutory award for each infringed work will be made by the finder of fact, not by Plaintiffs. In

determining the amount of statutory damages awarded for each infringed work, the finder of fact

may consider a number of factors, including but not limited to: the defendant acting with reckless

disregard for, or willful blindness to, the copyright holder’s rights; the benefits obtained by the

infringer from its infringement; the copyright owner’s lost revenues, which are measured by lost

licensing and/or subscription fees due to the infringement; the difficulty of proving actual

damages; the circumstances of the infringement; and deterrence. See 17 U.S.C. § 504(c)(2);

Energy Intelligence Grp., Inc. v. Kayne Anderson Capital Advisors, L.P., 948 F.3d 261, 269 (5th

Cir. 2020). Statutory damages “are intended not only to compensate copyright owners but also to

deter copyright infringers.” Id. at 273.

       In addition, Plaintiffs further respond that they will seek to recover their costs and

attorneys’ fees in this case pursuant to 17 U.S.C. § 505.


       Interrogatory No. 3. Describe all facts and circumstances around your first
 awareness that Exelon Gen. Co. did, or may have, allegedly infringed the copyright of
 each Asserted NIW Work, including without limitation the date of such awareness, how
 you became aware, and the persons involved.

       Response:       Plaintiffs object to this Interrogatory on the ground that the term

“awareness” is vague, ambiguous, subject to speculation and subjective judgment as to its

meaning, and calls for a legal conclusion. Plaintiffs object to this Interrogatory because it calls

for information protected from disclosure by the attorney-client privilege, the attorney work

product doctrine, or other applicable privilege or immunity.

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       Without waiver of the foregoing objections, Plaintiffs respond that they learned of

Defendant’s infringement of Nuclear Intelligence Weekly on or about March 28, 2019 by

examining data provided by Plaintiffs’ email delivery service SendGrid. Plaintiffs’ employees

David Babski and John Hitchcock reviewed the data including examining the number of times

delivery emails were opened, when those openings occurred, the number of devices involved in

the email openings, the IP addresses of the devices opening the emails, and the physical location

of the devices (based on IP address data), among other things. From Plaintiffs’ review of the

aforementioned data, Plaintiffs believed Defendant was distributing copies of NIW.


         Interrogatory No. 4. Describe all facts and circumstances around the analysis and
 conclusions discussed in Paragraphs 35–38 of the Complaint. Your answer should
 include at least the following information: (i) the dates when such analysis occurred,
 including the dates when “data reflecting Defendant’s activity on the servers of the third-
 party email delivery service (the ‘Delivery Service’) that delivers NIW to Defendant” was
 requested from the Delivery Service, when it was delivered, when it was examined, and
 when conclusions were reached; (ii) the entities and natural persons involved in
 requesting, collecting, delivering, examining, and reaching conclusions from such data;
 (iii) how the analysis was performed and the conclusions were reached.

       Response: Plaintiffs object to this Interrogatory because it calls for information protected

from disclosure by the attorney-client privilege, the attorney work product doctrine, or other

applicable privilege or immunity. Plaintiffs object to this Interrogatory on the ground that it is

overly broad, unduly burdensome and not proportional to the needs of the case because it calls

for a lengthy narrative response, and any non-privileged information sought can be obtained by

more practical means by deposition of a corporate representative.

       Without waiving the foregoing objections, Plaintiffs refer Defendant to Plaintiffs’

response to Interrogatory No. 3.


        Interrogatory No. 5. For each email delivery service, software, or vendor that
 delivered NIW to Exelon Gen. Co. (collectively, “email delivery services”) on or after
 November 1, 2011, identify the time period in which such email delivery service delivered

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 NIW to Exelon Gen. Co. and describe its ability within or after that time period to collect
 or analyze data regarding the number of times an email sent to Exelon Gen. Co. was
 opened, the number of unique devices on which such email was opened, or alleged
 copying of NIW.

       Response: Plaintiffs object to this Interrogatory to the extent that it seeks information

that is at least as readily available to Defendant regarding services delivering email to Defendant.

Plaintiffs further object to this Request as it calls for information protected from disclosure by

the attorney-client privilege, the attorney work product doctrine, or other applicable privilege or

immunity.

       Without waiving the foregoing objection, and only to the extent Plaintiffs understood the

“data” provided by a delivery service, if any, Plaintiffs respond that, from on or after November

1, 2011 to June 2015, American Technology Services, LLC (“ATS”) was utilized by Plaintiffs to

deliver Nuclear Intelligence Weekly to Defendant. To the best of Plaintiffs knowledge, ATS did

not have the capability to collect or analyze any tracking data and did not provide such data to

EIG.

       SendGrid was the email delivery service utilized by Plaintiffs to deliver Nuclear

Intelligence Weekly to Defendant commencing on or about June 2015 through to the present.

SendGrid’s services do not detect copying of PDF attachments, and SendGrid does not market its

services as a copyright enforcement tool. As such, SendGrid’s data does not directly show

whether a PDF attachment to an email, such as Nuclear Intelligence Weekly, was opened, copied,

or infringed.

       In addition, the amount of information SendGrid made available to EIG changed over

time. From on or about June 2015 to mid-2018, SendGrid’s logs provided generic information

when an email was “processed” by SendGrid, “delivered” to the recipient or when delivery was

“deferred” for some reason, and when an email was “opened.” See EIG005498.


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       EIG gained access to the newly available “open tracking” data on or about July 20, 2018,

as a result of SendGrid upgrading its systems and services. See EIG005498. This additional data

now included information about all the devices opening the subscription email and the internet

protocol address (“IP address”) of the devices opening the email. This additional information,

available on or about July 20, 2018 for the first time, provided EIG with information that

multiple devices were opening the emails delivering Nuclear Intelligence Weekly. The exact data

SendGrid provided EIG before and after July, 2018 has been produced under Bates Nos.

EIG005498.

Dated: March 14, 2022                        By: /s/ Stephen M. Ankrom
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                               CERTIFICATE OF SERVICE

       On behalf of Plaintiffs Energy Intelligence Group, Inc. and Energy Intelligence Group
(UK) Limited, I hereby certify that a true and correct Copy of PLAINTIFFS’ FIRST
AMENDED RESPONSES AND OBJECTIONS TO DEFENDANT CONSTELLATION
ENERGY GENERATION, LLC’s FIRST INTERROGATORIES TO ENERGY
INTELLIGENCE GROUP, INC. AND ENERGY INTELLIGENCE GROUP (UK) LIMITED
was served was served via email upon counsel of record for Defendant on this 14th day of
March, addressed as follows:


                                    Sondra A. Hemeryck
                                    Rodney Perry
                                    Louis A. Klapp
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                                                   /s/ Stephen M. Ankrom
                                                        Stephen M. Ankrom




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